  Case 19-09344       Doc 20   Filed 06/18/19 Entered 06/18/19 13:18:40              Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )               BK No.:      19-09344
Thomas J Landa                               )
Mary P Landa                                 )               Chapter: 7
                                             )
                                                             Honorable Timothy Barnes
                                             )
                                             )
               Debtor(s)                     )

                       ORDER AUTHORIZING SALE UNDER 11 USC §363
                               and SHORTENING NOTICE

       THIS MATTER coming to be heard on the motion of the Debtors, the Court having jurisdiction
over the parties and the subject matter and being duly advised in the premises and due notice having
been given:

     It is hereby ORDERED that:

    1) The Debtors are allowed to sell their real estate property located at 718 N. Marion Street, Oak
Park, IL 60302.

    2) Notice is shortened to that given.




                                                          Enter:


                                                                   Timothy A. Barnes
Dated: June 18, 2019                                               United States Bankruptcy Judge

 Prepared by:
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